           Case: 1:18-cv-03989 Document #: 60 Filed: 05/06/20 Page 1 of 2 PageID #:592

                                                United States District Court
                                                Northern District of Illinois

In the Matter of

 John Scatchell                                                Magistrate Judge Jeffrey Cummings
                           v.                                              Case No. 18-CV-3989

 Village of Melrose Park, et al.,



               TRANSFER OF CASE TO THE EXECUTIVE COMMITTEE FOR A
                         REFERRAL TO MAGISTRATE JUDGE

   The above captioned case is currently pending on my calendar. I recommend to the Executive
Committee that this case be referred to the calendar of Magistrate Judge Jeffrey Cummings, the
magistrate judge designated pursuant to Local Rule 72.1. The reasons for my recommendation
are indicated on the reverse of this form.



                                                           ________________________________
                                                                    Judge John F. Kness

Date: Wednesday, May 6, 2020



                                ORDER OF THE EXECUTIVE COMMITTEE

  IT IS HEREBY ORDERED that the above captioned case be referred to the calendar of
Magistrate Judge Jeffrey Cummings


                                                      ENTER

                                      FOR THE EXECUTIVE COMMITTEE




                                                           _____________________________________
                                                            Chief Judge Rebecca R. Pallmeyer
Dated:Wednesday, May 6, 2020

District Referral - To Designated Magistrate Judge
           Case: 1:18-cv-03989 Document #: 60 Filed: 05/06/20 Page 2 of 2 PageID #:593


CIVIL PROCEDURES

Conduct hearings and enter appropriate orders on the following pretrial motion/matter:


- All Discovery Motions

- Discovery Supervision

- Settlement Conference




EXCEPTIONS OR ADDITIONS:
This matter is referred to Magistrate Judge Cummings for supervision of discovery (including all future
discovery-related motions), as well as a settlement conference if requested by the parties. Magistrate
Judge Cummings shall have authority to set or amend all deadlines for discovery.




District Referral - To Designated Magistrate Judge
